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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


DONALD JESSIE,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 5:07-cv-00459
                                                     (Criminal No. 5:05-cr-00224-04)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER

       Before the Court is Petitioner Donald Jessie’s Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody [Docket 266]. By Standing Order

entered August 1, 2006, and filed in this case on July 26, 2007, this action was referred to United

States Magistrate Judge R. Clarke VanDervort for submission of proposed findings and a

recommendation (PF&R). Magistrate Judge VanDervort filed his PF&R [Docket 379] on June 16,

2010, recommending that this Court deny Petitioner’s motion and remove this matter from the

Court’s docket.

       The Court is not required to review, under a de novo or any other standard, the factual or

legal conclusions of the magistrate judge as to those portions of the findings or recommendation to

which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985). Failure to file timely

objections constitutes a waiver of de novo review and the Petitioner’s right to appeal this Court’s

Order. 28 U.S.C. § 636(b)(1); see also Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir.1989);

United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984). In addition, this Court need not conduct
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a de novo review when a party “makes general and conclusory objections that do not direct the Court

to a specific error in the magistrate’s proposed findings and recommendations.” Orpiano v.

Johnson, 687 F.2d 44, 47 (4th Cir. 1982). Objections to the PF&R in this case were due on July 6,

2010. To date, no objections have been filed.

       Accordingly, the Court ADOPTS the PF&R [Docket 379], DISMISSES Petitioner’s motion

[Docket 266], and DISMISSES this case from the docket. A separate Judgment Order will enter

this day implementing the rulings contained herein.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                             ENTER:         September 16, 2010




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